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                   IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA


CHERYL WILLIAMS,

      Plaintiff,

vs.

ELITE METRO CORP,
a Florida Corporation,

      Defendant.
                                 /

                          COMPLAINT FOR DAMAGES

      Plaintiff, CHERYL WILLIAMS, sues Defendant, ELITE METRO CORP, and

shows:

                                  Introduction

      1.     This is an action by CHERYL WILLIAMS against her former

employer for unpaid overtime pursuant to the Fair Labor Standards Act.

Plaintiff seeks damages and a reasonable attorney’s fee.

                                  Jurisdiction

      2.     This action arises under the Fair Labor Standards Act (“FLSA”), 29

U.S.C. § 207. The Court has jurisdiction over the claims pursuant to 29 U.S.C.

§ 216(b).

      3.     The claim arose within the Middle District of Florida, which is

where venue is proper.

                         Parties and General Allegations

      4.     Plaintiff, CHERYL WILLIAMS, (hereinafter “WILLIAMS”) a resident

of Osceola County, Florida, was at all times material, employed by ELITE
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METRO CORP as an accounts payable clerk for Defendant’s retail cellular

phone store, was an employee as defined by 29 U.S.C. § 203 (e), and during her

employment with Defendant was engaged in commerce or in the production of

goods for commerce within the meaning of 29 U.S.C. § 207(a).

      5.    Defendant, ELITE METRO CORP (hereinafter, “ELITE METRO”), is a

Florida Corporation doing business in Osceola County, Florida, and is an

enterprise engaged in an industry affecting commerce, is an employer as

defined by 29 U.S.C. § 203(d) and (s)(1), in that it has employees engaged in

commerce or in the production of goods for commerce, or that has employees

handling, selling, or otherwise working on goods or materials that have been

moved in or produced for commerce by any person; and it is an enterprise

whose annual gross volume of sales made or business done is not less than

$500,000 (exclusive of excise taxes at the retail level that are separately stated)

which has employees subject to the provisions of the FLSA, 29 U.S.C. § 207, in

the facility where WILLIAMS was employed.         At all times pertinent to this

Complaint, ELITE METRO operates as an organization which sells and/or

markets its services and/or goods to customers throughout the United States

and also provides its services for goods sold and transported from across state

lines of other states, and ELITE METRO obtains and solicits funds from non-

Florida sources, accepts funds from non-Florida sources, uses telephonic

transmissions going over state lines to do their business, transmit funds

outside the State of Florida, and otherwise regularly engages in interstate

commerce, particularly with respect to its employees.
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      6.    Since March, 2016, Defendant ELITE METRO has willfully violated

the provisions of §7 of the Act [29 U.S.C. §207] by employing employees engaged

in commerce for workweeks longer than 40 hours without compensating them for

their employment in excess of 40 hours at rates not less than one and one-half

times the regular rates at which they were employed: specifically WILLIAMS,

since March 2016, has worked in excess of 40 hours a week most weeks of her

employment, and was not compensated for the work in excess of 40 hours at a

rate not less than one and one-half times the regular rate at which she was

employed, in that the Defendant would only pay her a “salary” provided that

Plaintiff worked more than 40 hours per week.

      7.    The failure to pay overtime compensation to WILLIAMS is unlawful

in that she was not exempted from the overtime provisions of the Act pursuant to

the provisions of 29 U.S.C. § 213(a), in that she neither was a bona fide

executive, administrative or professional employee.

      8.    ELITE METRO’s actions were willful and purposeful as it was well

aware of the Fair Labor Standards Act and WILLIAMS’ status as non-exempt, but

chose not to pay her in accordance with the Act.

      9.    WILLIAMS is entitled pursuant to 29 U.S.C. § 216(b), to recover

from ELITE METRO:

            a.    All unpaid overtime that is due;

            b.    As liquidated damages, an amount equal to the unpaid

overtime owed;

            c.    The costs of this action, and;

            d.    A reasonable attorney’s fee.
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      WHEREFORE, Plaintiff, CHERYL WILLIAMS, prays that this court will

grant judgment against Defendant ELITE METRO CORP:

             a.       awarding WILLIAMS payment of overtime compensation

found by the court to be due to her under the Act;

             b.       awarding WILLIAMS an additional equal amount as liquidated

damages;

             c.       awarding   WILLIAMS      her   costs, including a reasonable

attorney’s fee; and

             d.       granting such other and further relief as is just.

                                     Jury Demand

      Plaintiff demands trial by jury.

Dated: August 10, 2019
Plantation, Florida
                                         Respectfully submitted,


                                         s/Robert S. Norell
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